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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

ATLAS AIR, INC. and SOUTHERN AIR
INC.,
                                                     Civil Action No. 1:19-cv-03223-CRC
                   Plaintiffs,

       v.

INTERNATIONAL BROTHERHOOD OF
TEAMSTERS, AIRLINE DIVISION

and

AIRLINE PROFESSIONALS ASSOC. OF
THE INTERNATIONAL BROTHERHOOD
OF TEAMSTERS, LOCAL UNION NO. 1224

and

INTERNATIONAL BROTHERHOOD OF
TEAMSTERS LOCAL 2750,

                   Defendants.


                        DECLARATION OF JEFFREY D. CARLSON

       I, Jeffrey D. Carlson, do hereby declare under penalty of perjury the following:

       1.      I am employed by Atlas Air Worldwide Holdings, Inc. (“AAWH”), which owns

Atlas Air, Inc. (“Atlas”) and Southern Air Inc. (“Southern”), as Senior Vice President of Flight

Operations. Both Atlas and Southern are commercial air carriers with national and international

operations. I have personal knowledge of the facts set forth below and if called as a witness in

this matter, I could and would competently testify thereto.

       2.      The National Mediation Board has certified the International Brotherhood of

Teamsters, Airline Division (“IBT Airline Division”) as the collective bargaining representative

of both the Atlas and Southern pilots under the RLA. The Airline Professionals Association of
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the International Brotherhood of Teamsters, Local Union No. 1224 is the local collective

bargaining agent designated by the IBT Airline Division to represent the Southern pilots and

manage day-to-day pilot labor relations with Southern. On October 11, 2019, International

Brotherhood of Teamsters Local 2750 (“Local 2750”) was chartered by the International

Brotherhood of Teamsters as the designated representative of Atlas pilots. Local 2750 is

temporarily headquartered at IBT Local 100’s headquarters in Cincinnati, Ohio. Prior to October

11, 2019, Defendant Local 1224 was designated as the representative of both the Atlas pilots and

the Southern pilots.

       3.      Atlas and the IBT Airline Division are parties to a collective bargaining

agreement (“CBA”) governing the rates of pay, rules, and working conditions of the Atlas pilots

(the “Atlas CBA”). The Atlas CBA became effective on September 8, 2011, and became

amendable on September 8, 2016. I have attached as Exhibit 1 a true and correct copy of

Sections 1 and 34 Atlas CBA, dated September 8, 2011.

       4.      Southern and the IBT Airline Division are parties to a CBA governing the rates of

pay, rules, and working conditions of the Southern pilots (the “Southern CBA”). The Southern

CBA became effective on November 6, 2012, and became amendable on November 6, 2016. I

have attached as Exhibit 2 a true and correct copy of Sections 1 and 27 Southern CBA, dated

November 6, 2012.

       5.      On June 12, 2019, and August 26, 2019, respectively, the Southern and Atlas

System Boards of Adjustment issued arbitration awards requiring Defendants to deliver an

integrated seniority list (“ISL”) to Southern and Atlas within 45 days of the date of each award

(i.e., by July 27, 2019 (Southern) and October 10, 2019 (Atlas)). On October 11, 2019, I sent

two letters, on behalf of Atlas and Southern respectively, to Defendants asking for Defendants’




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immediate submission of the ISL to the carriers pursuant to the awards. I have attached as

Exhibits 3 and 4 true and correct copies of letters signed by myself and sent on behalf of Atlas

and Southern respectively to Defendants on October 11, 2019.

       6.      To my knowledge, Defendants have not provided a written response to either

letter. Moreover, as of the filing of this declaration, Defendants have not yet provided Atlas or

Southern with an ISL.

       Executed this 31st day of October, 2019 at Purchase, New York




                                              ________________________
                                                   Jeffrey D. Carlson




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